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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


John Gregg,                             )
                                        )
             Plaintiff,                 )
                                        )
                                        )
        v.                              )    No. 24 C 1925
                                        )
                                        )
Central Transport LLC,                  )
                                        )
             Defendant.                 )


                         Memorandum Opinion and Order

        John Gregg sued Central Transport LLC on March 7, 2024, for

alleged violations of sections 15(a), 15(b), and 15(d) of the

Illinois Biometric Information Privacy Act (“BIPA”), 740 Ill.

Comp.     Stat.   14/1     et   seq.   Due   to   intervening      legislative

developments, Central Transport now moves under Federal Rule of

Civil Procedure 12(b)(1) to dismiss the amended complaint for lack

of subject-matter jurisdiction. For the reasons below, the motion

is granted.

                                       I.

        The BIPA provides a private right of action as follows:

        (a) Any person aggrieved by a violation of this Act shall
        have a right of action in a State circuit court or as a
        supplemental claim in federal district court against an
        offending party. A prevailing party may recover for each
        violation:
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           (1) against a private entity that negligently
           violates a provision of this Act, liquidated
           damages of $1,000 or actual damages, whichever is
           greater;

           (2) against a private entity that intentionally or
           recklessly violates a provision of this Act,
           liquidated damages of $5,000 or actual damages,
           whichever is greater;

           (3) reasonable attorneys’ fees and costs, including
           expert witness fees and other litigation expenses;
           and

           (4) other relief, including an injunction, as the
           State or federal court may deem appropriate.

740 Ill. Comp Stat. 14/20(a). In this suit, Gregg seeks liquidated,

not actual, damages.

     Like this one, many BIPA suits are based on employers’ alleged

use of fingerprint or other scanners to track the work of their

employees. See generally, e.g., Herron v. Gold Standard Baking,

Inc., No. 20 C 7469, 2024 WL 2113075 (N.D. Ill. May 9, 2024);

Castro v. El Milagro, Inc., No. 22 C 03943, 2023 WL 4625777 (N.D.

Ill. July 19, 2023). Because in this context employees are often

required to scan each workday, sometimes multiple times per day,

an important question arose: do BIPA claims accrue each time there

is a biometric scan and each time that scan is transmitted to a

third party, or do those claims only accrue upon the first scan

and transmission? The Seventh Circuit certified that question to

the Illinois Supreme Court, which held in Cothron v. White Castle

System, Inc., 216 N.E.3d 918 (Ill. 2023), that “a separate claim

accrues under the Act each time a private entity scans or transmits

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an individual’s biometric identifier or information in violation

of section 15(b) or 15(d).” Id. at 920.

        The Cothron court limited its holding to the accrual of claims

under sections 15(b) and 15(d) and made no holding on the issue of

damages. Nevertheless, the court acknowledged that its decision

opened the door to “potentially excessive damage awards” under the

BIPA.     Id.   at   929.   As   for    whether    such    awards    are   indeed

recoverable, the court deferred to the legislature, “respectfully

suggest[ing] that the legislature review these policy concerns and

make clear its intent regarding the assessment of damages under

the [BIPA].” Id. at 929.

        The legislature took up the invitation, and on August 2, 2024,

Governor J.B. Pritzker signed Public Act 103-0769 (“PA 103-0769”)

into law.1 PA 103-0769, which became effective immediately upon

signature, adds the following language to section 20 of the BIPA:

        (b) For purposes of subsection (b) of Section 15, a
        private entity that, in more than one instance,
        collects, captures, purchases, receives through trade,
        or otherwise obtains the same biometric identifier or
        biometric information from the same person using the
        same method of collection in violation of subsection (b)
        of Section 15 has committed a single violation of
        subsection (b) of Section 15 for which the aggrieved
        person is entitled to, at most, one recovery under this
        Section.


1 Before being signed into law, the amendment was often referred
to as Senate Bill 2979 (“SB 2979”), including in some of the
parties’ submissions. The text of PA 103-0769 is available at:
https://www.ilga.gov/legislation/publicacts/fulltext.asp?name=10
3-0769.
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      (c) For purposes of subsection (d) of Section 15, a
      private entity that, in more than one instance,
      discloses, rediscloses, or otherwise disseminates the
      same biometric identifier or biometric information from
      the same person to the same recipient using the same
      method of collection in violation of subsection (d) of
      Section 15 has committed a single violation of
      subsection (d) of Section 15 for which the aggrieved
      person is entitled to, at most, one recovery under this
      Section regardless of the number of times the private
      entity disclosed, redisclosed, or otherwise disseminated
      the same biometric identifier or biometric information
      of the same person to the same recipient.

The question now is whether PA 103-0769 applies in cases like this

one, where the alleged conduct occurred and the complaint was filed

before its enactment.

                                      II.

      Central Transport argues that PA 103-0769 applies in this

case. If so, then Gregg is limited to a single liquidated damages

recovery for each of his three claims, and his case falls below

the   minimum    amount    in    controversy      required     for   diversity

jurisdiction. See 28 U.S.C. § 1332(a). Gregg rejects the notion

that PA 103-0769 applies here, but does not contest that if it

does, his basis for federal jurisdiction falls away.

                                      A.

      In Illinois, there is a presumption that statutory amendments

are “intended to change existing law.” People v. Stewart, 215

N.E.3d 752, 758 (Ill. 2022) (citing K. Miller Constr. Co. v.

McGinnis, 938 N.E.2d 471, 481 (Ill. 2010)). If the legislature has

changed the law, courts must determine whether that change applies

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retroactively, or only prospectively. The presumption does not

apply,   however,       where     “the    circumstances      surrounding          the

amendment”   indicate     that    “the    legislature      intended      merely   to

interpret or clarify the original act.” Id. (citing K. Miller

Constr., 938 N.E.2d at 481). Where an amendment is “a clarification

of the prior statute,” it “must be accepted as a legislative

declaration of the meaning of the original Act.” K. Miller Constr.,

938 N.E.2d at 482. In that case, there is no need to determine

whether the amendment should have retroactive effect because it is

as if the amendment has been in place all along.

      The Illinois Supreme Court has identified circumstances that

“may indicate whether an amendment is merely a clarification rather

than a substantive change in the law,” including “‘whether the

enacting body declared that it was clarifying a prior enactment;

whether a conflict or ambiguity existed prior to the amendment;

and   whether   the     amendment    is       consistent   with     a    reasonable

interpretation     of    the     prior    enactment    and    its       legislative

history.’” Id. at 481 (quoting Middleton v. City of Chicago, 578

F.3d 655, 663–64 (7th Cir. 2009)).

      The latter two circumstances are present here. PA 103-0769

was adopted shortly after the Illinois Supreme Court expressly

invited the legislature to “make clear its intent regarding the

assessment of damages under the Act.” Cothron, 216 N.E.3d at 929.

That language underscores that the question of BIPA damages was at

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least ambiguous; if it were not, there would be no point in asking

for   legislative    clarification.        Furthermore,   it   suggests     that

limiting damages, as PA 103-0769 does, is consistent with the

BIPA’s pre-amendment text. See Cothron, 216 N.E.3d at 929 (“[T]here

is no language in the [BIPA] suggesting legislative intent to

authorize a damages award that would result in the financial

destruction of a business.”).

      Gregg is right that, “[w]hile the General Assembly can pass

legislation to prospectively change a judicial construction of a

statute if it believes that the judicial interpretation was at

odds with legislative intent, it cannot effect a change in that

construction by a later declaration of what it had originally

intended.” Bates v. Bd. of Educ., Allendale Cmty. Consol. Sch.

Dist. No. 17, 555 N.E.2d 1, 4 (Ill. 1990) (citing Roth v. Yackley,

396 N.E.2d 520, 522 (Ill. 1979); People v. Rink, 455 N.E.2d 64, 68

(Ill. 1983)). But that is not what PA 103-0769 does. In Cothron,

the court held that a BIPA claim accrues with each scan or

transmission of biometric identifiers or information, but did not

hold that plaintiffs are entitled to liquidated damages for every

one of those violations. See Rowe v. Papa John’s Int’l, Inc., No.

23-cv-2082, 2024 WL 3925411, at *15 (N.D. Ill. Aug. 23, 2024)

(observing   that    Cothron    identified     the   possibility      of   large

damages awards under the BIPA, but did not make a damages holding

and ultimately deferred to the legislature on the issue). To the

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contrary, as explained, the court expressly declined to decide

that     latter    question     and    instead         gave   the   legislature     an

opportunity to weigh in. That invitation would make little sense

if, as Gregg asserts, Cothron left no room for clarification by

the legislature. PA 103-0769 does not impact the accrual of BIPA

claims, nor does it impact Cothron’s construction of the BIPA.2 It

simply clarifies that plaintiffs are entitled to a single recovery

for violations caused by the collection or dissemination of the

same biometric identifiers or information via the same method. See

Hayes v. CGB Enters., Inc., No. 23-cv-03296, 2024 WL 3540427, at

*2    (C.D.   Ill.    July   25,   2024)       (“[PA    103-0769]   speaks   to   the

assessment of damages, not to when BIPA claims accrue.”).

       Gregg further contends that some aspects of PA 103-0769 are

inconsistent with Cothron’s holding that multiple collections or

disseminations of the same biometric identifiers or information

are each separate violations, but I need not address those concerns

because the dispositive point remains as to the issue of damages:

by inviting the legislature to “clarify” the issue of damages, the

Illinois Supreme Court endorsed the view that the issue was




2 For instance, Cothron’s accrual holding still dictates when BIPA
claims are timely under the applicable statute of limitations.
Under Cothron, a plaintiff may still bring a section 15(b) or 15(d)
claim based on an alleged violation that occurred within the
statute of limitations period, even if prior unlawful collection
or dissemination occurred outside the statute of limitations
window.
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unsettled and that the legislature could permissibly settle it. PA

103-0769 does just that. Accordingly, the clarified intent enacted

in PA 103-0769 must be applied as if it were clear from the date

of the BIPA’s enactment. See K. Miller Constr., 938 N.E.2d at 482.

                                         B.

      Given that PA 103-0769 applies to Gregg’s case and that he

alleges multiple instances in which the same biometric identifier

or information was scanned or transmitted in the same manner, he

cannot    meet    the   minimum    damages    required      to   confer   federal

jurisdiction. More specifically, because of PA 103-0769 Gregg may

recover one liquidated damages award for his section 15(b) claim

and one for his section 15(d) claim, plus a single recovery for

his section 15(a) claim.3 Together, that amounts to a maximum

recovery of $15,000, assuming that each violation is shown to have

been reckless or intentional. Thus, it “appear[s] to a legal

certainty”     that     Gregg   cannot   recover     more   than    $75,000,       so

jurisdiction is lacking. St. Paul Mercury Indem. Co. v. Red Cab

Co., 303 U.S. 283, 289 (1938). In any event, Gregg makes no effort

to argue that he can still meet the jurisdictional threshold even


3 PA 103-0769 does not address recovery for section 15(a) claims,
but that is likely because section 15(a), which concerns
maintenance and application of a written policy, does not involve
potentially discrete and recurring conduct like sections 15(b) and
15(d) do. A defendant either violates section 15(a) once, or does
not violate it at all. In any event, Gregg nowhere suggests that
his section 15(a) claim could provide the jurisdictional grounding
for his case.
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under PA 103-0769.4 And while a plaintiff’s uncontested good faith

valuation     of    his   claim     usually    controls,     where   a    defendant

challenges that valuation, “‘the plaintiff must support [his]

assertion with competent proof.’” Anthony v. Sec. Pac. Fin. Servs.,

Inc., 75 F.3d 311, 315 (7th Cir. 1996) (quoting Rexford Rand Corp.

v. Ancel, 58 F.3d 1215, 1218 (7th Cir. 1995)); see also Travelers

Prop. Cas. v. Good, 689 F.3d 714, 722 (7th Cir. 2012) (burden on

party     invoking        federal     jurisdiction      to     establish       it).

Additionally, the rule that a court accepts a plaintiff’s good

faith valuation does not apply where, as here, state law forecloses

recovery of the claimed damages. See Webb v. Fin. Indus. Regul.

Auth., Inc., 889 F.3d 853, 859 n.4 (7th Cir. 2018).

                                        III.

        For the foregoing reasons, Central Transport’s motion to

dismiss    for     lack   of   subject-matter     jurisdiction       is    granted.

Because dismissal is on jurisdictional grounds, it is without

prejudice.




4 Nor does he make any suggestion that an opportunity to amend
prior to dismissal would do any good.
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                                     ENTER ORDER:



                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: November 13, 2024




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